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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA, ex.                    *
 rel. KRAH PLUNKERT, et al.
                                                  *
         Plaintiffs,
                                                  *
                v.                                        Civ. No. SAG-19-3375
                                                  *
 MARYLAND BROADBAND
 COOPERATIVE, et al.,                             *

         Defendants.                              *

                                                  *


      UNITED STATES OF AMERICA’S NOTICE OF CONSENT TO DISMISSAL
       OF CLAIMS ASSERTED ON BEHALF OF THE STATE OF MARYLAND

       On April 11, 2023, the State of Maryland filed a Notice of Election to Decline to Intervene.

(ECF No. 27.) Pursuant to section 8-104(a)(7) of the General Provisions article of the Annotated

Code of Maryland, which provides that, if the State of Maryland “does not elect to intervene and

proceed with the action . . . , the court shall dismiss the action,” the State also requested that all

claims asserted on behalf of the State of Maryland be dismissed without prejudice. (Id.) The United

States hereby notifies the Court that it consents to the dismissal of all claims asserted on behalf of

the State of Maryland without prejudice.

       The United States acknowledges that Relator has not dismissed the claims brought on

behalf of the United States and that, pursuant to 31 U.S.C. 3730(c)(3), Relator may continue to

maintain this action in the name of the United States.
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                                  Respectfully submitted,

                                  Erek L. Barron
                                  United States Attorney

                             By: /s/ Kelly M. Marzullo
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on May 4, 2023, a copy of the foregoing United States of

America’s Notice of Consent to Dismissal of Claims Asserted on Behalf of the State of Maryland,

which was electronically filed via the Court’s CM/ECF system on May 4, 2023, was served via

email and U.S. mail, first class, postage prepaid, on:

               Shelly Marie Martin
               Maryland Office of the Attorney General
               200 Saint Paul Place
               Baltimore, Maryland 21202
               smartin@oag.state.md.us
               Attorney for the State of Maryland



                                                         /s/ Kelly M. Marzullo
                                                         Kelly M. Marzullo
                                                         Assistant United States Attorney




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